               Case 2:13-cv-03197-ER Document 83 Filed 10/11/22 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN F. JOHNSON,                                :
                                                 :        CIVIL ACTION
         Petitioner,                             :        NO. 13-03197
                                                 :
                 v.                              :
                                                 :
JOHN W. KERESTES, et al.,                        :
                                                 :
         Respondents.                            :



                                             ORDER

          AND NOW, this 11th day of October, 2022, upon consideration

    of   the    Settlement      Agreement     [ECF   No.       77]   and   the     positions

    presented to the Court during the September 22, 2022 hearing, the

    matter is hereby REFERRED to the Office of the Attorney General

    of   the    Commonwealth     of   Pennsylvania        as    amicus     curiae    on    the

    issues of (1) whether the settlement agreement to be approved by

    this Court is the appropriate vehicle for consideration by this

    court;     (2)    whether    relief     should   be    granted       on   Petitioner’s

    habeas     claim;   and     (3)   any   other    issue      relevant      to   the    just

    disposition of this case. 1


1 Given that the parties agree that Petitioner has pointed to
sufficient constitutional error in his state-court proceedings to
warrant habeas relief, the presentation of an additional
perspective by an amicus curiae on whether the District Attorney’s
concession is proper, would be helpful. “A district court has
inherent authority to designate amici curiae to assist it in a
proceeding.” Liberty Resources, Inc. v. Phila. Hous. Auth., 395 F.
Supp. 2d 206, 209 (E.D. Pa. 2005). “[P]articipation of an amicus
[is] especially proper where the amicus will ensure complete and
plenary presentation of difficult issues so that the court may
                                 1
       Case 2:13-cv-03197-ER Document 83 Filed 10/11/22 Page 2 of 2



     The amicus brief must be submitted within 90 days of the

date of this Order. The District Attorney’s Office is DIRECTED to

provide    a   copy   of   this   Order   to   the   Pennsylvania   Attorney

General.   The   District    Attorney’s    Office    is   also   DIRECTED   to

provide copies of all prior statements by all witnesses in the

case. Should the Pennsylvania Attorney General decline to file an

amicus brief, it shall so NOTIFY the Court promptly, and no later

than 60 days from the date of this Order. After considering any

amicus brief filed by the Pennsylvania Attorney General, the

Court will determine the appropriate course of action in this

matter.


           AND IT IS SO ORDERED.


                                          _______________________
                                          EDUARDO C. ROBRENO, J.




reach a proper decision.” Id. The Attorney General of Pennsylvania
has the statutory authority, under certain circumstances, to
participate in “criminal actions in which there is an appeal.” 71
Pa. Stat. § 732-205(c).
                                 2
